LEONARD HOLDEN VAUGHAN, COEXECUTOR, ESTATE OF JOHN CHARLES VAUGHAN, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Vaughan v. CommissionerDocket No. 10514.United States Board of Tax Appeals10 B.T.A. 140; 1928 BTA LEXIS 4177; January 24, 1928, Promulgated *4177  Fees in the total amount of $18,503 paid to the executors of decedent's estate and to attorneys employed by the executors in connection with the administration of the estate, held to be proper deductions in computing the net estate subject to the Federal estate tax.  Leonard Holden Vaughan pro se.  J. Harry Byrne, Esq., for the respondent.  MARQUETTE *140  This proceeding is for the redetermination of a deficiency in estate taxes amounting to $4,548.37.  The deficiency arises from the disallowance by the respondent of a part of a deduction in the amount of $20,000 taken by the petitioner for attorneys' and executors' fees.  FINDINGS OF FACT.  The petitioner is one of the executors of the last will and testament of John Charles Vaughan who died April 12, 1924, a resident of Cook County, Illinois.  The executors filed a Federal estate-tax return with the collector for the first district of Illinois and deducted therein in determining the net estate subject to tax, the amount of $20,000 as executors' and attorneys' fees.  At the time the return was filed only $5,000 had actually been paid to the executors and attorneys.  However, before the*4178  estate was finally closed there was paid to the executors and attorneys a total amount of $18,503, which was included in the final account filed by the executors and approved by the Probate Court in and for Cook County, Illinois.  The respondent upon audit of the Federal estate-tax return filed for the decedent's estate disallowed $15,000 of the $20,000 paid on account of executors' and attorneys' fees and determined that there is a deficiency in tax in the amount of $4,548.37.  OPINION.  MARQUETTE: The evidence in this proceeding establishes that the executors of decedent's estate and their attorneys were paid fees in the total amount of $18,503 for services rendered in connection with the administration of the estate and that the payments were approved by the Probate Court in and for Cook County, Illinois, where the estate was administered.  The amount so paid is a proper deduction in determining the net estate subject to the Federal estate tax.  Judgment will be entered on 15 days' notice, under Rule 50.